       Case 1:24-cr-00542-AS        Document 431 Filed 07/01/25 Page 1 of 30
                                               U.S. Department of Justice
                                                                                         Page 3
                                                     United States Attorney
My und                                               Southern District of New York
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278


                                                     July 1, 2025

BY ECF
The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    United States v. Combs, S3 24 Cr. 542 (AS)

Dear Judge Subramanian:

        Pursuant to the Court’s order, Dkt. No. 342, attached please find the Government’s email
correspondence to and from the Court concerning evidentiary objections or applications for other
relief.

                                              Respectfully submitted,

                                              JAY CLAYTON
                                              United States Attorney

                                        By:      /s
                                              Maurene Comey / Meredith Foster /
                                              Emily A. Johnson / Christy Slavik /
                                              Madison Reddick Smyser / Mitzi Steiner
                                              Assistant United States Attorneys
                                              (212) 637-2324/-2310/-2409/-1113/-2381/-2284

cc:    Counsel of record (by ECF)




                                                 1
                Case 1:24-cr-00542-AS       Document 431         Filed 07/01/25     Page 2 of 30


Steiner, Mitzi (USANYS)

From:                           Comey, Maurene (USANYS)
Sent:                           Monday, May 26, 2025 10:41 PM
To:                             Jason A. Driscoll; subramaniannysdchambers@nysd.uscourts.gov
Cc:                             Alexandra Shapiro; xdonaldson; nw@westmorelandlawgroup.com; Anna Estevao;
                                thesteellawfirm; marc@agilawgroup.com; teny@agilawgroup.com; Slavik, Christy
                                (USANYS); Smyser, Madison (USANYS); Steiner, Mitzi (USANYS); Johnson, Emily
                                (USANYS) 2; Foster, Meredith (USANYS)
Subject:                        RE: US v. Combs
Attachments:                    2025.05.26 US v. Combs - Gov't Opposition to Defense Motion re Summary Charts
                                vf.pdf



Good evening,

I received notiﬁcations indicating that my initial email may not have been received by all parties due to
the size of the attachments. I am resending the letter only and will ask our o ice’s paralegals to add the
exhibits from Menendez to USAfx.

Respectfully,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov




From: Comey, Maurene (USANYS)
Sent: Monday, May 26, 2025 10:33 PM
To: 'Jason A. Driscoll' <jdriscoll@shapiroarato.com>; subramaniannysdchambers@nysd.uscourts.gov
Cc: Alexandra Shapiro <ashapiro@shapiroarato.com>; xdonaldson <xdonaldson@aol.com>;
nw@westmorelandlawgroup.com; Anna Estevao <aestevao@harristrz.com>; thesteellawfirm
<thesteellawfirm@msn.com>; marc@agilawgroup.com; teny@agilawgroup.com; Slavik, Christy (USANYS)
<Mary.Slavik@usdoj.gov>; Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>; Steiner, Mitzi (USANYS)
<Mitzi.Steiner@usdoj.gov>; Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>; Foster, Meredith (USANYS)
<Meredith.Foster@usdoj.gov>
Subject: RE: US v. Combs

Good evening,

Attached please ﬁnd the Government’s response to the defendant’s letter regarding summary charts, as
well as six summary charts from United States v. Menendez, et al., 23 Cr. 490 (SHS), which are
referenced in this response.


                                                        1
                Case 1:24-cr-00542-AS           Document 431         Filed 07/01/25       Page 3 of 30

The Government will confer with defense counsel regarding whether any redactions are necessary before
public ﬁling.

Respectfully submitted,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov




From: Jason A. Driscoll <jdriscoll@shapiroarato.com>
Sent: Wednesday, May 21, 2025 10:25 PM
To: subramaniannysdchambers@nysd.uscourts.gov
Cc: Alexandra Shapiro <ashapiro@shapiroarato.com>; Jason A. Driscoll <jdriscoll@shapiroarato.com>; xdonaldson
<xdonaldson@aol.com>; nw@westmorelandlawgroup.com; Anna Estevao <aestevao@harristrz.com>; thesteellawfirm
<thesteellawfirm@msn.com>; marc@agilawgroup.com; teny@agilawgroup.com; Slavik, Christy (USANYS)
<Mary.Slavik@usdoj.gov>; Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>; Steiner, Mitzi (USANYS)
<Mitzi.Steiner@usdoj.gov>; Comey, Maurene (USANYS) <Maurene.Comey@usdoj.gov>; Johnson, Emily (USANYS) 2
<Emily.Johnson@usdoj.gov>; Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>
Subject: [EXTERNAL] US v. Combs

Dear Chambers,

Attached please ﬁnd a letter from the defense concerning the government’s draft summary charts. We will confer
with the government on redactions for the public ﬁling.


Jason A. Driscoll

1140 Avenue of the Americas, 17th Floor
New York, NY 10036
212-257-4898 (o)
jdriscoll@shapiroarato.com
www.shapiroarato.com

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                                                            2
                Case 1:24-cr-00542-AS           Document 431         Filed 07/01/25       Page 4 of 30

The Government will confer with defense counsel regarding whether any redactions are necessary before
public ﬁling.

Respectfully submitted,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov




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Sent: Wednesday, May 21, 2025 10:25 PM
To: subramaniannysdchambers@nysd.uscourts.gov
Cc: Alexandra Shapiro <ashapiro@shapiroarato.com>; Jason A. Driscoll <jdriscoll@shapiroarato.com>; xdonaldson
<xdonaldson@aol.com>; nw@westmorelandlawgroup.com; Anna Estevao <aestevao@harristrz.com>; thesteellawfirm
<thesteellawfirm@msn.com>; marc@agilawgroup.com; teny@agilawgroup.com; Slavik, Christy (USANYS)
<Mary.Slavik@usdoj.gov>; Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>; Steiner, Mitzi (USANYS)
<Mitzi.Steiner@usdoj.gov>; Comey, Maurene (USANYS) <Maurene.Comey@usdoj.gov>; Johnson, Emily (USANYS) 2
<Emily.Johnson@usdoj.gov>; Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>
Subject: [EXTERNAL] US v. Combs

Dear Chambers,

Attached please ﬁnd a letter from the defense concerning the government’s draft summary charts. We will confer
with the government on redactions for the public ﬁling.


Jason A. Driscoll

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New York, NY 10036
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jdriscoll@shapiroarato.com
www.shapiroarato.com

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                                                            2
                Case 1:24-cr-00542-AS        Document 431         Filed 07/01/25       Page 5 of 30


Steiner, Mitzi (USANYS)

From:                           Johnson, Emily (USANYS) 2
Sent:                           Friday, May 30, 2025 12:23 AM
To:                             SubramanianNYSDChambers; Marc Agnifilo; Teny Geragos; Alexandra Shapiro; Jason A.
                                Driscoll; thesteellawfirm@msn.com; aestevao@harristrz.com;
                                nw@westmorelandlawgroup.com; Xdonaldson@aol.com
Cc:                             Steiner, Mitzi (USANYS); Smyser, Madison (USANYS); Foster, Meredith (USANYS); Slavik,
                                Christy (USANYS); Comey, Maurene (USANYS)
Subject:                        US v. Combs - Summary Charts
Attachments:                    GX 1406 -- DRAFT as of 5.29.2025.pdf; GX 1402 -- DRAFT as of 5.29.2025.pdf; GX 1404
                                -- DRAFT as of 5.29.2025.pdf; GX 1405 -- DRAFT as of 5.29.2025.pdf


Dear Judge Subramanian and Chambers,

Attached for the Court’s review are updated versions of certain draft summary charts that the Government seeks
to admit. The parties have attempted to confer, but the Government understands that the defense maintains the
objections articulated in its ﬁlings. Nevertheless, the Government has revised GX 1402 and 1406 to address some
of the concerns raised in the defense’s motion, and the Government has reformatted GX 1404 and 1405 into a
more visually appealing medium with the same content.

The parties respectfully request that the Court rule on the admissibility of GX 1402 before the weekend because
we expect to o er it as early as Tuesday, June 3.

Respectfully,




Emily A. Johnson | Assistant United States Attorney
United States Attorney's O ice | Southern District of New York
26 Federal Plaza | New York, NY 10278
T: 212.637.2409 | emily.johnson@usdoj.gov




                                                         1
               Case 1:24-cr-00542-AS        Document 431         Filed 07/01/25       Page 6 of 30


Steiner, Mitzi (USANYS)

From:                          Comey, Maurene (USANYS)
Sent:                          Wednesday, June 4, 2025 10:57 PM
To:                            Subramanian NYSD Chambers
Cc:                            Teny Geragos; Marc Agnifilo; thesteellawfirm@msn.com;
                               nw@westmorelandlawgroup.com; xdonaldson@aol.com; aestevao@harristrz.com;
                               Alexandra Shapiro; Jason A. Driscoll; Johnson, Emily (USANYS) 2; Slavik, Christy
                               (USANYS); Steiner, Mitzi (USANYS); Smyser, Madison (USANYS); Foster, Meredith
                               (USANYS)
Subject:                       US v. Combs - Letter re Jane GX
Attachments:                   2025.06.04 US v. Combs - Letter re Jane GX vf.pdf



Good evening,

Attached please ﬁnd a letter addressing remaining disputes regarding exhibits the Government intends
to use in connection with Jane’s testimony. We will confer with the defense regarding appropriate
redactions before ﬁling publicly.

Respectfully submitted,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov




                                                        1
                Case 1:24-cr-00542-AS        Document 431         Filed 07/01/25       Page 7 of 30


Steiner, Mitzi (USANYS)

From:                           Comey, Maurene (USANYS)
Sent:                           Wednesday, June 4, 2025 12:31 AM
To:                             Teny Geragos; SubramanianNYSDChambers; Johnson, Emily (USANYS) 2; Foster,
                                Meredith (USANYS); Slavik, Christy (USANYS); Steiner, Mitzi (USANYS); Smyser, Madison
                                (USANYS)
Cc:                             Marc Agnifilo; Alexandra Shapiro; Anna Estevao; Jason A. Driscoll;
                                nw@westmorelandlawgroup.com; xdonaldson; thesteellawfirm
Subject:                        RE: US v Combs - 6/4/25 Trial Issues



Good evening,

I write to update the Court on the status of the parties’ discussions regarding exhibits that may be o ered
in connection with Jane’s testimony. The parties have continued to have very productive conferrals,
which have further narrowed evidentiary disputes with respect to this witness. None of the Government
Exhibits that remain in dispute will come up during Jane’s testimony on Wednesday, so the Court need
not resolve those disputes before Thursday morning. The parties will plan to ﬁle substantive letters on
the outstanding issues by Wednesday evening.

As a preview, below are the Jane-related Government Exhibits that remain in dispute.

         The defense has raised FRE 106 objections to several Government Exhibits containing portions of
          text message exchanges between Jane and the defendant. The Government has agreed to modify
          some of its exhibits to address FRE 106 concerns, but does not believe further adjustments are
          necessary within the meaning of the Rule. Below are the Government Exhibits that remain in this
          disputed category:
              o A-104-13 through A-104-15
              o A-104-18
              o A-104-23
              o A-104-30 & A-104-31
              o A-104-60
              o A-104-62 through A-104-73
              o A-104-76
              o A-104-78
              o A-301-I through A-301-M
              o A-301-R through A-301-V
              o A-442-19
              o A-442-31
              o A-442-33
              o A-442-39 through A-442-42
              o A-510-A
              o A-510-H

         The defense objects to several Government Exhibits on hearsay grounds. These exhibits fall into
          the three categories identified below, which the parties expect to brief by Wednesday evening:

                                                         1
                Case 1:24-cr-00542-AS        Document 431         Filed 07/01/25    Page 8 of 30

           1. GX C-251 is a text exchange between Jane and Kristina Khorram from December 2023 in
              which Jane reports to Khorram threats the defendant made just prior to release FO videos
              of her. The Government intends to submit portions of Jane’s texts as present-sense
              impressions, portions to show her state of mind, and the entirety to prove their impact on
              Khorram and to prove that after receiving these messages Khorram had reason to know of
              illegal conduct.

           2. GX E-171 is a screenshot of a headline that Jane took when Casandra Ventura filed her
              lawsuit in November 2023. The Government will offer the screenshot to prove its impact
              on Jane and not for its truth.

           3. GX E-178, E-179, E-182, and E-331-A through E-331-P are all entries that Jane wrote in her
              Notes App, which she used as a diary during her relationship with the defendant. The
              Government will offer portions of these notes that relate to Jane’s feelings at the time of
              writing to prove her state of mind. The Government will also offer these notes as prior
              consistent statements to rebut attacks on her credibility made during opening statements.

Respectfully,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov




From: Teny Geragos <teny@agilawgroup.com>
Sent: Tuesday, June 3, 2025 10:19 PM
To: SubramanianNYSDChambers <SubramanianNYSDChambers@nysd.uscourts.gov>; Comey, Maurene (USANYS)
<Maurene.Comey@usdoj.gov>; Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>; Foster, Meredith (USANYS)
<Meredith.Foster@usdoj.gov>; Slavik, Christy (USANYS) <Mary.Slavik@usdoj.gov>; Steiner, Mitzi (USANYS)
<Mitzi.Steiner@usdoj.gov>; Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>
Cc: Marc Agnifilo <marc@agilawgroup.com>; Alexandra Shapiro <ashapiro@shapiroarato.com>; Anna Estevao
<aestevao@harristrz.com>; Jason A. Driscoll <jdriscoll@shapiroarato.com>; nw@westmorelandlawgroup.com;
xdonaldson <xdonaldson@aol.com>; thesteellawfirm <thesteellawfirm@msn.com>
Subject: [EXTERNAL] US v Combs - 6/4/25 Trial Issues

Dear Chambers:

The par es have conferred regarding the witnesses for tomorrow.

   1. Frank Piazza

We understand that the Court does not need further argument on this and we stand ready to answer any ques ons on
10C-115 tomorrow morning.

                                                         2
               Case 1:24-cr-00542-AS                Document 431     Filed 07/01/25       Page 9 of 30
    2. Bana Bongolan

The par es disagree on a few defense exhibits and the defense will ﬁle a short le er tonight.

    3. Jane

The par es have conferred and have substan ally narrowed the issues with respect to government exhibits for Jane’s
direct. This evening, I expect that the government will submit a short le er se ng out our posi ons with respect to
those exhibits. We may be able to respond in wri ng by later this evening.

Respec ully,
Teny

               Teny Geragos
               Partner, Agniﬁlo Intrater LLP
               445 Park Avenue, 7th Floor | New York, NY 10022
               o: (646) 205-4351 |
               teny@agilawgroup.com
               www.agilawgroup.com



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                                                                 3
               Case 1:24-cr-00542-AS       Document 431         Filed 07/01/25       Page 10 of 30


Steiner, Mitzi (USANYS)

From:                          Comey, Maurene (USANYS)
Sent:                          Thursday, June 5, 2025 11:19 PM
To:                            Teny Geragos; Jason A. Driscoll; SubramanianNYSDChambers
Cc:                            Marc Agnifilo; thesteellawfirm; nw@westmorelandlawgroup.com; xdonaldson; Anna
                               Estevao; Alexandra Shapiro; Johnson, Emily (USANYS) 2; Slavik, Christy (USANYS);
                               Steiner, Mitzi (USANYS); Smyser, Madison (USANYS); Foster, Meredith (USANYS); Jason
                               A. Driscoll
Subject:                       RE: US v. Combs - Letter re Jane GX
Attachments:                   GX E-331-F-R - (February 12, 2023 note) -_Redacted.pdf; GX E-331-H-R - (February 22,
                               2023 note)_Redacted.pdf; GX E-331-J-R - (October 26, 2023 note) - _Redacted.pdf; GX
                               E-331-A-R - (December 12, 2022 note)_Redacted.pdf; GX E-331-B-R - (November 26,
                               2022 note)_Redacted v2_Redacted.pdf; GX E-331-I (September 16, 2023 notes).pdf; GX
                               E-331-C (February 12-13, 2023 notes) - _Redacted.pdf



Good evening,

Ms. Geragos and I have continued to confer and have further narrowed the issues in dispute. We have
reached agreement on all of the rule-of-completeness objections, which we will put on the record
tomorrow morning.

In addition, the Government has prepared a subset of Jane’s notes (GX E-331-A, E-331-B, E-331-C, E-
331-F, E-331-H, E-331-I, and E-331-J), from before Ms. Ventura filed her lawsuit, which I intend to offer
during Jane’s direct examination. The defense still objects to those notes for the reasons they have set
forth in their letter and on the record this morning. Attached please find the narrowed set of notes, five of
which are now redacted to only display text the Government believes is either indicative of state of mind
or admissible as a prior consistent statement in light of the defense’s opening statement, and two of
which the Government believes should be admitted in their entirety on those same bases.

Respectfully,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov




From: Teny Geragos <teny@agilawgroup.com>
Sent: Thursday, June 5, 2025 12:40 AM
To: Jason A. Driscoll <jdriscoll@shapiroarato.com>; SubramanianNYSDChambers
<SubramanianNYSDChambers@nysd.uscourts.gov>
Cc: Marc Agnifilo <marc@agilawgroup.com>; thesteellawfirm <thesteellawfirm@msn.com>;
nw@westmorelandlawgroup.com; xdonaldson <xdonaldson@aol.com>; Anna Estevao <aestevao@harristrz.com>;
                                                        1
                Case 1:24-cr-00542-AS        Document 431         Filed 07/01/25      Page 11 of 30
Alexandra Shapiro <ashapiro@shapiroarato.com>; Comey, Maurene (USANYS) <Maurene.Comey@usdoj.gov>; Johnson,
Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>; Slavik, Christy (USANYS) <Mary.Slavik@usdoj.gov>; Steiner, Mitzi
(USANYS) <Mitzi.Steiner@usdoj.gov>; Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>; Foster, Meredith
(USANYS) <Meredith.Foster@usdoj.gov>; Jason A. Driscoll <jdriscoll@shapiroarato.com>
Subject: [EXTERNAL] RE: US v. Combs - Letter re Jane GX

Dear Chambers:

We marked and highlighted the remaining government exhibits in dispute for FRE 106. A corresponding chart is below:

 DX 3029 and DX 3030    A-104-13 through A-104-15
 DX 3183                A-104-60
 DX 3215                A-104-76
 DX 3172                A-442-33
 DX 3169, p.1-2         A-442-31
 DX 3232, p.1-11        A-301-K
                        A-301-L
                        A-301-M
 DX 3239, p.1-21.       A-301-R
                        A-301-S
                        A-301-T
                        A-301-U
                        A-301-V

Respectfully,
Teny

From: Jason A. Driscoll <jdriscoll@shapiroarato.com>
Sent: Thursday, June 5, 2025 12:19 AM
To: SubramanianNYSDChambers <SubramanianNYSDChambers@nysd.uscourts.gov>
Cc: Teny Geragos <teny@agilawgroup.com>; Marc Agnifilo <marc@agilawgroup.com>; thesteellawfirm
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<Mary.Slavik@usdoj.gov>; Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj.gov>; Smyser, Madison (USANYS)
<Madison.Smyser@usdoj.gov>; Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>; Jason A. Driscoll
<jdriscoll@shapiroarato.com>
Subject: Re: US v. Combs - Letter re Jane GX

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unless you recognize the sender and know the content is safe.
Dear Chambers,

Attached please find a letter on behalf of Mr. Combs. We will confer with the government regarding appropriate
redactions before filing publicly.


Jason A. Driscoll

1140 Avenue of the Americas, 17th Floor
New York, NY 10036
212-257-4898 (o)
                                                          2
               Case 1:24-cr-00542-AS           Document 431          Filed 07/01/25       Page 12 of 30
jdriscoll@shapiroarato.com
www.shapiroarato.com

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From: Comey, Maurene (USANYS) <Maurene.Comey@usdoj.gov>
Date: Wednesday, June 4, 2025 at 10:56 PM
To: Subramanian NYSD Chambers <subramaniannysdchambers@nysd.uscourts.gov>
Cc: Teny Geragos <teny@agilawgroup.com>, Marc Agnifilo <marc@agilawgroup.com>,
thesteellawfirm@msn.com <thesteellawfirm@msn.com>, nw@westmorelandlawgroup.com
<nw@westmorelandlawgroup.com>, xdonaldson@aol.com <xdonaldson@aol.com>,
aestevao@harristrz.com <aestevao@harristrz.com>, Alexandra Shapiro <ashapiro@shapiroarato.com>,
Jason A. Driscoll <jdriscoll@shapiroarato.com>, Johnson, Emily (USANYS) 2
<Emily.Johnson@usdoj.gov>, Slavik, Christy (USANYS) <Mary.Slavik@usdoj.gov>, Steiner, Mitzi
(USANYS) <Mitzi.Steiner@usdoj.gov>, Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>,
Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>
Subject: US v. Combs - Letter re Jane GX

Good evening,

Attached please find a letter addressing remaining disputes regarding exhibits the Government intends
to use in connection with Jane’s testimony. We will confer with the defense regarding appropriate
redactions before filing publicly.

Respectfully submitted,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov

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        Case 1:24-cr-00542-AS             Document 431               Filed 07/01/25            Page 13 of 30


From:            Slavik, Christy (USANYS)
To:              Subramanian NYSD Chambers
Cc:              Johnson, Emily (USANYS) 2; Steiner, Mitzi (USANYS); Foster, Meredith (USANYS); Smyser, Madison (USANYS);
                 Comey, Maurene (USANYS); Marc Agnifilo; Teny Geragos; Alexandra Shapiro; Jason A. Driscoll;
                 thesteellawfirm@msn.com; nw@westmorelandlawgroup.com; xdonaldson@aol.com; aestevao@harristrz.com
Subject:         US v. Combs, 24 Cr. 542 (AS)
Date:            Wednesday, June 11, 2025 10:44:00 PM
Attachments:     GX H-101-A.pdf


Dear Judge Subramanian and Chambers,

The Government respectfully writes regarding scheduling for the remainder of the week.

Thursday, 6/12

Tomorrow, the Government intends to offer two exhibits following Jane’s testimony, GX C-653-1 and
GX H-101-A. We understand that the defense objects to GX H-101-A (attached for reference), but
does not object to GX C-653-1. The Government will submit a letter later tonight setting forth the
basis of admissibility of GX H-101-A. The Government will call Special Agent Andre LaMon next.
There are several unresolved issues related to Special Agent LaMon’s testimony, which will be set
forth in the letter. The Government, with the consent of the defense, proposes addressing GX H-
101-A and the issues related to Special Agent LaMon’s testimony in the morning (as well as any
issues that relate to Jane’s testimony) before Jane resumes testifying.

There are multiple additional evidentiary issues, however that require the Court’s attention,
particularly before summary witness Ananya Sankar takes the stand on Friday. These issues, and the
proposed exhibits they relate to, will be flagged in the submission to the Court later tonight. Given
the likelihood that Special Agent LaMon’s testimony will conclude before 3 pm, the parties propose
addressing those evidentiary issues after Special Agent LaMon’s testimony concludes.

Friday, 6/13

On Friday, the Government intends to call Jonathan Perez and Ananya Sankar. The Government
expects that these witnesses will take us through the bulk of the day. Due to travel and scheduling
issues, the Government’s next witnesses are not available until Monday morning. With the
defense’s consent, the Government proposes ending the trial day early on Friday if Ms. Sankar’s
testimony concludes before 3 pm.

This proposed schedule does not impact the Government’s estimate of when it will rest, as discussed
in Court today.

Respectfully,
Christy


M. Christine (Christy) Slavik
Assistant United States Attorney
     Case 1:24-cr-00542-AS           Document 431         Filed 07/01/25   Page 14 of 30


United States Attorney’s Office for the Southern District of New York
26 Federal Plaza, 37th Floor
New York, New York 10278

Office: (212) 637-1113
Email: mary.slavik@usdoj.gov
              Case 1:24-cr-00542-AS         Document 431         Filed 07/01/25       Page 15 of 30


Steiner, Mitzi (USANYS)

From:                           Comey, Maurene (USANYS)
Sent:                           Wednesday, June 11, 2025 11:12 PM
To:                             Teny Geragos; SubramanianNYSDChambers; Johnson, Emily (USANYS) 2; Foster,
                                Meredith (USANYS); Slavik, Christy (USANYS); Steiner, Mitzi (USANYS); Smyser, Madison
                                (USANYS)
Cc:                             Marc Agnifilo; Anna Estevao; Alexandra Shapiro; Jason A. Driscoll;
                                nw@westmorelandlawgroup.com; xdonaldson; thesteellawfirm
Subject:                        RE: US v. Combs - 6/12/25 Trial Issue



Good evening,

To clarify, the Government has not o ered any communications between Jane and the defendant from
December 20, 2023. Rather, the Government o ered exhibits containing their communications from
December 7, 2023 (GX A-301-B and A-301-C) and December 23, 2023 (GX A-301-G). When the
Government o ered those exhibits, the defense did not raise any objection suggesting those exhibits
lacked necessary context.

Moreover, as Jane testiﬁed, she and Mr. Combs were on a break throughout December 2023 and were
accordingly not discussing the terms of any ongoing or future relationship. In any event, there are other
portions of the recording to which the Government would not object that reﬂect Mr. Combs’s then-
existing state of mind and convey similar sentiments without injecting rank hearsay. For example, the
Government would not object to a redacted version of this recording containing Mr. Combs’s statements
“now that you’ve made it absolutely clear to me that you feel this way;” “I’m sorry that you felt this way,
and I don’t want you to feel that way no more, I don’t want you to be upset or feel that way no more;” and
“all I can do now is apologize, I can’t go back and ﬁx the past, all I can do is try to be a better person in the
future.” Those statements would allow the defense to make the arguments they wish from this message
without improperly inserting hearsay into these proceedings.

The Government will be prepared to address this issue on the record in the morning.

Respectfully,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov




From: Teny Geragos <teny@agilawgroup.com>
Sent: Wednesday, June 11, 2025 10:30 PM
To: SubramanianNYSDChambers <SubramanianNYSDChambers@nysd.uscourts.gov>; Comey, Maurene (USANYS)

                                                         1
               Case 1:24-cr-00542-AS               Document 431       Filed 07/01/25       Page 16 of 30
<Maurene.Comey@usdoj.gov>; Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>; Foster, Meredith (USANYS)
<Meredith.Foster@usdoj.gov>; Slavik, Christy (USANYS) <Mary.Slavik@usdoj.gov>; Steiner, Mitzi (USANYS)
<Mitzi.Steiner@usdoj.gov>; Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>
Cc: Marc Agnifilo <marc@agilawgroup.com>; Anna Estevao <aestevao@harristrz.com>; Alexandra Shapiro
<ashapiro@shapiroarato.com>; Jason A. Driscoll <jdriscoll@shapiroarato.com>; nw@westmorelandlawgroup.com;
xdonaldson <xdonaldson@aol.com>; thesteellawfirm <thesteellawfirm@msn.com>
Subject: [EXTERNAL] US v. Combs - 6/12/25 Trial Issue

Dear Chambers:

Ms. Comey and I have conferred on the remainder of the exhibits I intend to introduce for Jane’s cross-examina on.
There is one in dispute: DX-3226-B. She objects to DX 3226-B, which is a voicenote sent Dec. 20, 2023 6:12pm UTC in the
a ached DX 3226. We understand that Ms. Comey’s objec on is based on hearsay and that Mr. Combs’s statements
that “I never understood through the three years that you felt this way,” “I didn’t know that you felt this way,” “the
person I spent three years with I have the receipts, I don’t have all of this like this has been going on for three, I don’t
have all of, the last couple of months you started saying something,” and “I just wish all around you had communicated
stronger or be er” are hearsay oﬀered to prove the truth of the ma er asserted. We assert that this is not hearsay, is
oﬀered to show context of the surrounding exhibits the government has introduced from December 2023, and would be
otherwise admissible under the state-of-mind exemp on. Furthermore, the jury has basically heard virtually their en re
conversa on—through Jane’s tes mony and their text conversa ons, and it would be misleading and unfair to omit this
one?

We further assert that these statements are relevant to demonstrate the eﬀect on the listener (Jane) and to properly
contextualize her subsequent conduct. As the government will argue, Jane and Mr. Combs con nued the at-issue sexual
conduct well a er this message was sent. To the extent there was any doubt as to the clarity of Jane’s communica on
with Mr. Combs in the years prior to this message, the message marks a turning point in the rela onship and the
importance of clear communica on. The jury should consider the message, even if not for its truth, as relevant when
weighing Jane’s subsequent conduct.

Respec ully,
Teny


               Teny Geragos
               Partner, Agniﬁlo Intrater LLP
               445 Park Avenue, 7th Floor | New York, NY 10022
               o: (646) 205-4351 |
               teny@agilawgroup.com
               www.agilawgroup.com



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                                                                 2
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From:           Smyser, Madison (USANYS)
To:             SubramanianNYSDChambers@nysd.uscourts.gov
Cc:             Johnson, Emily (USANYS) 2; Steiner, Mitzi (USANYS); Foster, Meredith (USANYS); Comey, Maurene (USANYS);
                Slavik, Christy (USANYS); Marc Agnifilo; Teny Geragos; Alexandra Shapiro; Jason A. Driscoll; Anna Estevao;
                xdonaldson@aol.com; nw@westmorelandlawgroup.com; thesteellawfirm@msn.com
Subject:        24 Cr 542 US v Combs - Napue Instruction
Date:           Thursday, June 12, 2025 11:12:00 PM



Dear Judge Subramanian and Chambers:

The Government is in receipt of the defense’s proposed Napue instruction. Dkt. 403. The
Court can and should decline to give this instruction based on the record already before the
Court and for the reasons already articulated by the Court. However, if the Court is
entertaining the application, the Government respectfully requests an opportunity to respond
over the weekend.

Respectfully,

Madison Reddick Smyser
Assistant United States Attorney
United States Attorney’s Office
Southern District of New York
26 Federal Plaza
New York, NY 10278
(212) 637-2381 (office)

madison.smyser@usdoj.gov
        Case 1:24-cr-00542-AS                Document 431               Filed 07/01/25            Page 18 of 30


From:               Subramanian NYSD Chambers
To:                 Steiner, Mitzi (USANYS)
Cc:                 Marc Agnifilo; Teny Geragos; Alexandra Shapiro; aestevao@harristrz.com; thesteellawfirm@msn.com; Jason A.
                    Driscoll; nw@westmorelandlawgroup.com; xdonaldson@aol.com; Johnson, Emily (USANYS) 2; Smyser, Madison
                    (USANYS); Slavik, Christy (USANYS); Foster, Meredith (USANYS); Comey, Maurene (USANYS)
Subject:            [EXTERNAL] RE: US v. Combs, 24 Cr. 542 (AS)
Date:               Monday, June 16, 2025 4:29:30 PM


Dear Counsel,

The parties should be in court at 8:00 AM tomorrow prepared to address this issue.

Chambers of The Honorable Arun Subramanian
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 15A
New York, NY 10007

From: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj.gov>
Sent: Monday, June 16, 2025 3:35 PM
To: Subramanian NYSD Chambers <SubramanianNYSDChambers@nysd.uscourts.gov>
Cc: Marc Agnifilo <marc@agilawgroup.com>; Teny Geragos <teny@agilawgroup.com>; Alexandra
Shapiro <ashapiro@shapiroarato.com>; aestevao@harristrz.com; thesteellawfirm@msn.com; Jason
A. Driscoll <jdriscoll@shapiroarato.com>; nw@westmorelandlawgroup.com; xdonaldson@aol.com;
Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>; Smyser, Madison (USANYS)
<Madison.Smyser@usdoj.gov>; Slavik, Christy (USANYS) <Mary.Slavik@usdoj.gov>; Foster, Meredith
(USANYS) <Meredith.Foster@usdoj.gov>; Comey, Maurene (USANYS) <Maurene.Comey@usdoj.gov>
Subject: US v. Combs, 24 Cr. 542 (AS)

CAUTION - EXTERNAL:



Dear Chambers:

The Government writes to bring to the Court’s attention the below news article published this
morning that reports on the sealed proceedings involving Juror No. 7.

           The article cites to anonymous sources with direct knowledge.




Respectfully,

Mitzi S. Steiner
Assistant United States Attorney
United States Attorney’s Office
     Case 1:24-cr-00542-AS       Document 431       Filed 07/01/25    Page 19 of 30


Southern District of New York
26 Federal Plaza
New York, New York 10278
Tel: (212) 637-2284

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Case 1:24-cr-00542-AS   Document 431   Filed 07/01/25   Page 21 of 30
             Case 1:24-cr-00542-AS         Document 431          Filed 07/01/25      Page 22 of 30


Steiner, Mitzi (USANYS)

From:                          Comey, Maurene (USANYS)
Sent:                          Thursday, June 19, 2025 8:36 PM
To:                            Jason A. Driscoll; Subramanian NYSD Chambers
Cc:                            Alexandra Shapiro; Teny Geragos; Marc Agnifilo; thesteellawfirm; Xavier Donaldson;
                               Nicole Westmoreland; Anna Estevao; Slavik, Christy (USANYS); Steiner, Mitzi (USANYS);
                               Smyser, Madison (USANYS); Foster, Meredith (USANYS); Johnson, Emily (USANYS) 2
Subject:                       RE: US v. Combs



Good evening,

After additional productive conferrals, the parties have resolved this dispute. The Government has
agreed to remove certain rows from its summary chart and will not o er the corresponding Government
Exhibits. I understand from my discussion with Ms. Geragos that those steps will resolve the defense’s
objection on this matter.

Respectfully,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov




From: Comey, Maurene (USANYS)
Sent: Thursday, June 19, 2025 4:09 PM
To: Jason A. Driscoll <jdriscoll@shapiroarato.com>; Subramanian NYSD Chambers
<subramaniannysdchambers@nysd.uscourts.gov>
Cc: Alexandra Shapiro <ashapiro@shapiroarato.com>; Teny Geragos <teny@agilawgroup.com>; Marc Agnifilo
<marc@agilawgroup.com>; thesteellawfirm <thesteellawfirm@msn.com>; Xavier Donaldson <Xdonaldson@aol.com>;
Nicole Westmoreland <nw@westmorelandlawgroup.com>; Anna Estevao <aestevao@harristrz.com>; Slavik, Christy
(USANYS) <Mary.Slavik@usdoj.gov>; Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj.gov>; Smyser, Madison (USANYS)
<Madison.Smyser@usdoj.gov>; Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>; Johnson, Emily (USANYS) 2
<Emily.Johnson@usdoj.gov>
Subject: RE: US v. Combs

Good afternoon,

The Government had understood that the parties were continuing to confer about the exhibits raised in
the defense’s letter. I have just spoken with Ms. Geragos and Mr. Driscoll, and I am hopeful that the
parties can resolve this issue through additional conferrals today. If that is not the case, I will ﬁle a
response this evening.

                                                        1
               Case 1:24-cr-00542-AS           Document 431          Filed 07/01/25       Page 23 of 30

Respectfully,

Maurene Comey
Assistant United States Attorney
Southern District of New York
26 Federal Plaza, 37th Floor
New York, NY 10278
212-637-2324
Maurene.Comey@usdoj.gov




From: Jason A. Driscoll <jdriscoll@shapiroarato.com>
Sent: Thursday, June 19, 2025 12:24 PM
To: Subramanian NYSD Chambers <subramaniannysdchambers@nysd.uscourts.gov>
Cc: Alexandra Shapiro <ashapiro@shapiroarato.com>; Jason A. Driscoll <jdriscoll@shapiroarato.com>; Teny Geragos
<teny@agilawgroup.com>; Marc Agnifilo <marc@agilawgroup.com>; thesteellawfirm <thesteellawfirm@msn.com>;
Xavier Donaldson <Xdonaldson@aol.com>; Nicole Westmoreland <nw@westmorelandlawgroup.com>; Anna Estevao
<aestevao@harristrz.com>; Slavik, Christy (USANYS) <Mary.Slavik@usdoj.gov>; Steiner, Mitzi (USANYS)
<Mitzi.Steiner@usdoj.gov>; Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>; Comey, Maurene (USANYS)
<Maurene.Comey@usdoj.gov>; Foster, Meredith (USANYS) <Meredith.Foster@usdoj.gov>; Johnson, Emily (USANYS) 2
<Emily.Johnson@usdoj.gov>
Subject: [EXTERNAL] US v. Combs

Dear Chambers,

Attached please ﬁnd a letter on behalf of Mr. Combs, as well as the relevant exhibits. We will confer with the
government on appropriate redactions for the public ﬁling.


Jason A. Driscoll

1140 Avenue of the Americas, 17th Floor
New York, NY 10036
212-257-4898 (o)
jdriscoll@shapiroarato.com
www.shapiroarato.com

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Steiner, Mitzi (USANYS)

From:                           Comey, Maurene (USANYS)
Sent:                           Sunday, June 22, 2025 6:31 PM
To:                             Subramanian NYSD Chambers; Teny Geragos; Foster, Meredith (USANYS); Johnson,
                                Emily (USANYS) 2; Slavik, Christy (USANYS); Steiner, Mitzi (USANYS); Smyser, Madison
                                (USANYS)
Cc:                             Marc Agnifilo; thesteellawfirm; Alexandra Shapiro; Jason A. Driscoll; Anna Estevao;
                                nw@westmorelandlawgroup.com; xdonaldson
Subject:                        RE: US v. Combs - scheduling update



Good evening,

The parties have conferred, and we expect that Agent Cerciello’s testimony will likely continue into Tuesday
6/24 and end sometime before lunch that day. Understanding that timing, the parties have been unable to reach
agreement about a proposed schedule thereafter.

Until this afternoon, the Government had understood, based on defense counsel’s repeated representations on
the record, that the defense would have at least one full day of evidence to present in its case. The Government
team accordingly prioritized our time on the understanding that the charge conference would take place no
sooner than Wednesday 6/25. The Government has spent significant time this weekend going through the
proposed charge and anticipates a substantial number of objections that we will need to discuss with the
defense. We will not have enough time to confer with the defense and create a single document containing the
parties’ positions in time for a charge conference on Tuesday 6/24.

Accordingly, the Government proposes the following schedule:
    Tuesday 6/24 – Government completes its case and rests. The jury can then be excused for a long break
      while the Court hears arguments on the defendant’s Rule 29 motion. If the motion is denied, then the
      jury returns to the courtroom, where the defense presents its case (the Government understands the
      defense plans to seek to admit dozens of text message chains into evidence and may seek to publish
      and/or read some selection to the jury). After the defense rests, the jury is excused. By 5pm, the parties
      provide the Court with their joint comments on the proposed jury charge.
    Wednesday 6/25 – The jury is given the day off so that the parties may attend the charge conference that
      morning. The Government expects the conference will likely take multiple hours.
    Thursday 6/26 – Closing arguments begin.
    Friday 6/27 – Closing arguments conclude, and the Court charges the jury.

This schedule will allow sufficient time for the parties to prepare for and be heard both during the Rule 29
argument and during the charge conference. It also would not affect the trial concluding before July 4 as
planned.

The Government understands that the defense prefers the following schedule instead:
    Tuesday 6/24 – Government completes its case and rests. Jury excused for the day. Court hears Rule 29
      argument, and then holds charge conference.
    Wednesday 6/25 – The defense presents its case then rests. Closing arguments begin.
    Thursday 6/26 – Closing arguments conclude, and the Court charges the jury.

The defense proposal would prejudice the Government, which had been prioritizing preparations for at least a
one-day defense case. In particular, not having a final charge in this complex case until late Tuesday would
                                                         1
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                Case 1:24-cr-00542-AS         Document 431         Filed 07/01/25       Page 27 of 30


Steiner, Mitzi (USANYS)

From:                             Smyser, Madison (USANYS)
Sent:                             Thursday, June 26, 2025 12:43 PM
To:                               Subramanian NYSD Chambers; Marc Agnifilo; teny; Alexandra Shapiro; Anna Estevao;
                                  thesteellawfirm; Jason A. Driscoll; Jonathan Bach; Attorney Westmoreland; xdonaldson;
                                  Johnson, Emily (USANYS) 2; Foster, Meredith (USANYS); Steiner, Mitzi (USANYS); Comey,
                                  Maurene (USANYS)
Subject:                          RE: 24cr542 USA v. Combs



Dear Judge Subramanian and Chambers:

As discussed this morning, the Government requests that the paragraph concerning the buyer-seller exception,
currently page 38, lines 17-22, be moved to the conspiracy portion of the drug predicate charge, speciﬁcally to
page 40 line 9, before the ﬁnal paragraph of the conspiracy section.

In addition, the Government notes that on page 8, lines 11 and 18, the reference to “1951” should be “1591.”

We understand that the defense has no objection to these requests.

Respectfully,

Maddie R. Smyser
(212) 637-2381 (o ice)

madison.smyser@usdoj.gov

From: Subramanian NYSD Chambers <SubramanianNYSDChambers@nysd.uscourts.gov>
Sent: Wednesday, June 25, 2025 11:24 PM
To: Marc Agnifilo <marc@agilawgroup.com>; teny <teny@agilawgroup.com>; Alexandra Shapiro
<ashapiro@shapiroarato.com>; Anna Estevao <aestevao@harristrz.com>; thesteellawfirm
<thesteellawfirm@msn.com>; Jason A. Driscoll <jdriscoll@shapiroarato.com>; Jonathan Bach
<jbach@shapiroarato.com>; Attorney Westmoreland <nw@westmorelandlawgroup.com>; xdonaldson
<xdonaldson@aol.com>; Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj.gov>; Smyser, Madison (USANYS)
<Madison.Smyser@usdoj.gov>; Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>; Foster, Meredith (USANYS)
<Meredith.Foster@usdoj.gov>; Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj.gov>; Comey, Maurene (USANYS)
<Maurene.Comey@usdoj.gov>
Subject: [EXTERNAL] 24cr542 USA v. Combs

Dear Counsel,

A ached are: 1) the jointly-proposed verdict sheet, 2) the jury charge, and 3) a redline that shows diﬀerences between
the jury charge and the dra that was shared with the par es this a ernoon at 2:00 PM.

Chambers of The Honorable Arun Subramanian
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 15A
New York, NY 10007

                                                           1
              Case 1:24-cr-00542-AS          Document 431         Filed 07/01/25       Page 28 of 30


Steiner, Mitzi (USANYS)

From:                           Steiner, Mitzi (USANYS)
Sent:                           Friday, June 27, 2025 11:27 AM
To:                             SubramanianNYSDChambers
Cc:                             Johnson, Emily (USANYS) 2; Slavik, Christy (USANYS); Foster, Meredith (USANYS);
                                Smyser, Madison (USANYS); Teny Geragos; Comey, Maurene (USANYS); Steiner, Mitzi
                                (USANYS); Marc Agnifilo; teny; Alexandra Shapiro; Anna Estevao; thesteellawfirm; Jason
                                A. Driscoll; Attorney Westmoreland; xdonaldson
Subject:                        US v. Combs, 24 Cr. 542 (AS)


Dear Chambers:

As discussed, please ﬁnd below draft curative instructions regarding statements in the defense’s summations.

       During his summation, Mr. Agniﬁlo made a statement about certain conduct being a misdemeanor. Other
        than the charges in this case, you are not to consider whether or not any conduct you’ve heard evidence
        about constitutes a seperate state o ense. That is not a question before you, and I instruct you to
        disregard that argument.

       During his summation, Mr. Agniﬁlo invited you to consider the charging decisions made by prosecutors in
        this case. It would be improper for you to consider such matters in your deliberations and you should
        disregard those comments.

       Mr. Agniﬁlo has stated that Mr. Combs is charged with kidnapping, arson, bribery, and witness tampering. I
        instruct you that he is not charged with those crimes. As I will instruct you, he is charged with being a
        member of a racketeering conspiracy and agreeing with others to participate in a pattern of
        racketeering. He has not been charged separately with these crimes.

Thank you,
Mitzi

Mitzi S. Steiner
Assistant United States Attorney
United States Attorney’s O ice
Southern District of New York
26 Federal Plaza
New York, New York 10278
Tel: (212) 637-2284




                                                         1
               Case 1:24-cr-00542-AS            Document 431          Filed 07/01/25       Page 29 of 30


Steiner, Mitzi (USANYS)

From:                              Slavik, Christy (USANYS)
Sent:                              Monday, June 30, 2025 2:02 PM
To:                                Subramanian NYSD Chambers
Cc:                                Johnson, Emily (USANYS) 2; Steiner, Mitzi (USANYS); Foster, Meredith (USANYS); Smyser,
                                   Madison (USANYS); Comey, Maurene (USANYS); Marc Agnifilo; Teny Geragos; Alexandra
                                   Shapiro; Jason A. Driscoll; xdonaldson@aol.com; nw@westmorelandlawgroup.com;
                                   thesteellawfirm@msn.com
Subject:                           US v. Combs - proposed jury instruction


Dear Judge Subramanian and Chambers,

The parties are unable to agree on a joint proposed instruction to the jury. Below are the separate proposals:

Government proposal:

I received your note. I remind every juror of their duty to deliberate and their obligation to follow my instructions on
the law. With that instruction in mind, please resume your deliberations. If any further issue on this topic arises, please
have your foreperson send a further note. Please ensure that any notes do not reference or reveal any juror’s view of
the evidence, the merits of the case, or the breakdown of the vote.

Defense proposal:

I received your note. You have only recently started your deliberations. Please resume. If an issue
arises, please have your foreperson send me a note. Please ensure that any notes do not reference or
reveal any juror’s view of the evidence, the merits of the case, or the breakdown of the vote.


M. Chris ne (Christy) Slavik
Assistant United States A orney
United States A orney’s Oﬃce for the Southern District of New York
26 Federal Plaza, 37th Floor
New York, New York 10278

Oﬃce: (212) 637-1113
Email: mary.slavik@usdoj.gov




                                                             1
        Case 1:24-cr-00542-AS            Document 431              Filed 07/01/25            Page 30 of 30


From:           Smyser, Madison (USANYS)
To:             SubramanianNYSDChambers
Cc:             Johnson, Emily (USANYS) 2; Steiner, Mitzi (USANYS); Foster, Meredith (USANYS); Comey, Maurene (USANYS);
                Slavik, Christy (USANYS); Marc Agnifilo; Teny Geragos; Alexandra Shapiro; Jason A. Driscoll;
                aestevao@harristrz.com; xdonaldson@aol.com; thesteellawfirm@msn.com; nw@westmorelandlawgroup.com
Subject:        24 Cr. 542 US v Combs - Jury Question
Date:           Monday, June 30, 2025 6:04:00 PM



Dear Judge Subramanian and Chambers:

Despite attempts to confer, the parties have been unable to reach an agreement. The
Government’s proposal is below. We expect the defense will respond shortly.

The Government proposes that the Court answer the jury’s question with: “Yes,” and refer the
jury to lines 1 through 3 of the instructions on page 37 (“The word ‘distribution’ means actual,
constructive, or attempted transfer. To distribute simply means to deliver, to pass over, or to
hand over something to another person, or to cause it to be delivered, passed on, or handed
over to another. Distribution does not require a sale.”).

If the Court is inclined to simply point the jury to the instructions, the Government respectfully
requests that the Court add the following supplemental instruction, which was approved of by
the Second Circuit in United States v. Wallace, 532 F.3d 126, 129 (2d Cir. 2008): “Sharing
drugs with another constitutes distribution.”

The Government opposes any instruction that refers to any portion of the charge other than the
definition of “distribution.” It is clear on its face that the jury’s question relates only to
distribution, and any reference to the possession with intent instruction or conspiracy
instruction would be misleading and confusing.

Respectfully,

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